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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF VERMONT

       ALICE H. ALLEN, et al.          *
                                       *
                      V                *
                                       *
       DAIRY FARMERS OF AMERICA,       *
       INC., et al.                    *   CIVIL FILE NO. 09-230




                              TELEPHONE CONFERENCE
                             Thursday, May 5, 2016
                               Burlington, Vermont




       BEFORE:

             THE HONORABLE CHRISTINA R. REISS
                Chief District Judge


       APPEARANCES:

             BRENT W. JOHNSON, ESQ., EMMY L. LEVENS, ESQ., and
                KIT A. PIERSON, ESQ., Cohen Milstein Sellers &
                Toll PLLC, 1100 New York Avenue, N.W.,
                Washington, D.C.; Attorneys for the Plaintiffs

             ROBERT G. ABRAMS, ESQ., DANYLL W. FOIX, ESQ.,
                BakerHostetler LLP, Washington Square, Suite
                1100, 1050 Connecticut Avenue, NW, Washington,
                D.C.; Attorney for the Plaintiffs

                                                Appearances Cont'd...



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       APPEARANCES CONTINUED:

             STEVEN R. KUNEY, ESQ. Williams & Connolly LLP,
                725 Twelfth Street, N.W., Washington, D.C.;
                Attorney for Defendant Dairy Farmers of America,
                Inc.

             DANIEL J. SMITH, ESQ., Northeast Dairy Compact
                Commission Executive Director, 16 State Street,
                Montpelier, Vermont; Attorney for the
                Intervenors

             RICHARD T. CASSIDY, ESQ. and MATTHEW M. SHAGAM,
                ESQ., Hoff Curtis, 100 Main Street, Burlington,
                Vermont; Attorneys for the Intervenors

                                  *** ** ***




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 1      THURSDAY, MAY 5, 2016

 2      (The following was held in open court at 3:35 p.m.)

 3                   COURTROOM DEPUTY:     Your Honor, the matter

 4      before the Court is civil case number 09-CV-230, Alice

 5      H. Allen, et al. versus Dairy Farmers of America, et al.

 6      Present for the plaintiffs on the telephone are Robert

 7      Abrams, Emmy Levens, Brent Johnson, Danyll Foix, Kit

 8      Pierson, Daniel Smith, Richard Cassidy and Matthew

 9      Shagam.   Present for defendant is Steven Kuney via

10      telephone.

11                   THE COURT:     Good afternoon.   So you wanted to

12      speak to me, and that's fine.       We don't have great luck

13      with the telephone, but one thing that makes it easier

14      is that if you identify yourself each time you speak,

15      even if I know your voice it's not guaranteed that the

16      court reporter's going to know your voice.          So tell me

17      what you would like me to hear.

18                   MR. PIERSON:     Thank you, your Honor.       This is

19      Kit Pierson.    And personally, thank you very much for

20      doing this on short notice.

21            You know, we, as you can imagine, the lawyers, have

22      been talking about the logistical issues presented by

23      sort of the flood of letters and the number of people

24      that have indicated they would like to speak at the

25      hearing, and we wanted to really contact you about two
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 1      things.   One was to let you know some information that

 2      we're pulling together in pretty short order that will

 3      be provided to the Court that I think will help with the

 4      logistics, and I will explain what that information is.

 5            And then we wanted to -- we have got some questions

 6      that we are being asked about how the fairness hearing

 7      will be handled, and we have discussed among ourselves

 8      our own thoughts about -- or suggestions on some of the

 9      issues that occurred to us, but recognizing that, you

10      know, it's a hundred percent up to the Court, and

11      we're -- will offer our thoughts about issues we flagged

12      and our thoughts on those, but understanding it will be

13      handled however the Court wants to handle it.

14            The information that we're providing -- that we are

15      going to provide, which I would anticipate being filed

16      with final approval papers probably late in the day

17      Monday, so probably after close of business -- but there

18      are two charts that we're pulling together.          One is a

19      list of the people that have, consistent with the

20      Court's -- with the procedures the Court provided in the

21      notice, have indicated -- have provided notice that they

22      would like to speak at the hearing, and I can tell you

23      there -- our current understanding is that there are --

24      there are six, I guess what I would say, class

25      representative farms that are planning to speak, but
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 1      that includes -- one of those farms are the Haars, as

 2      you will remember from the last hearing, three of the

 3      Haars spoke at the hearing, so, you know, depending on

 4      how one wants to look at it, you can either look at it

 5      as eight people speaking or six farms, but -- so that's

 6      one cluster.

 7            The other cluster are people who have indicated

 8      they intend to speak who are not class representatives,

 9      and our current count is that that is -- there are an

10      additional 23 people, although I think -- my

11      understanding is that there are letters that have been

12      received that have not yet been docketed, so I think the

13      number may actually be closer to about 30, but we will

14      try to have that all figured out by Monday and get that

15      information to the Court.       We will file it as a pleading

16      with the list of who falls into these two groups.          You

17      will have a list in front of you, part of our thinking

18      on that.

19            The second thing we are pulling together is just --

20      is a chart that has all -- that will list all the

21      letters.   I don't know the sequence they are listed in.

22      It may be by docket number.       I don't know.     But it will

23      list them all, and it will indicate -- you know, it will

24      have a column that identifies whether someone supports

25      the settlement, whether someone is objecting to the
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 1      settlement, or whether someone has opted out of the

 2      class.   So we will provide that information, I think, in

 3      a granular way in the chart and we will also give you an

 4      aggregate so you will know the totals.

 5            So that -- is there any questions about that?

 6      That's the information we will submit, and then I can

 7      talk about the issues that have occurred to us.

 8                 THE COURT:     Okay.   So you can continue to

 9      provide information if you want.        I can tell you how I

10      think it should unfold.      Whatever you want to do next.

11                 MR. PIERSON:     All right.    Well, maybe I should

12      go ahead and give you our sort of preliminary -- well,

13      the issues that occurred to us, and I will just flag

14      them and then we will listen to how you want to handle

15      it.

16            So, you know, the biggest concern that we have been

17      talking through is just the number of people and how the

18      mix -- we understand from the prior proceedings, you

19      know, the Court has been very generous with people,

20      letting people speak at these hearings, and so that sort

21      of is our going-in assumption.        And we're trying to

22      figure out how to get that done.

23            There's one other consideration which I know is

24      important to -- that a number of farmers have

25      communicated with -- and some other lawyers can speak to
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 1      this if they need to, but the number of farmers that

 2      have expressed, you know, strong feelings to us that

 3      it's important to them that -- if that it's possible,

 4      that we get this done -- that we get at least their part

 5      of it done in one day.      So that has been -- so we

 6      thought about how that could be accomplished.              And the

 7      concern on the part of the farmers is that some of them

 8      are traveling a good distance, it's the planting season,

 9      and so we are hoping when they show up they will have

10      the chance to speak.

11                 THE COURT:     But it isn't Rutland Dairy Days or

12      anything, is it?     It's not Rutland Dairy Day?

13                 MR. PIERSON:     Excuse me?

14                 THE COURT:     It's not Rutland Dairy Day or

15      Vermont Dairy Day or anything that we are going to have

16      this hearing?    Remember that came up last time?

17                 MR. PIERSON:     Your Honor, I think that -- oh,

18      go ahead, Danny.

19                 MR. SMITH:     Yeah, this is Danny Smith.          I

20      think you are safe this time, your Honor.

21                 THE COURT:     Okay.   Thank you.

22                 MR. PIERSON:     No, the issue is just they are

23      in the planting season, and so we are trying to do the

24      best we can to accommodate them.        But here are what we

25      talked about, and I do want to just reiterate that we
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 1      understand -- we're really honoring this in the spirit

 2      of take it for what it's worth, and we will do -- do

 3      whatever the Court wants us to.

 4             You know, we talked about whether it might make

 5      sense to start the hearing at nine a.m. instead of 10,

 6      and if we -- and how we could provide notice if we do

 7      that, which we think we are able to do.

 8             One of the things we had talked about is -- the

 9      possibility would be to have the class representatives

10      speak in the morning, and, you know, how much time they

11      would all have would be obviously up to the Court, but

12      we thought that if we had the class reps speak in the

13      morning, and then had all the other farmers that had

14      provided notice -- you know, had provided notice they

15      intend to speak, speak in the afternoon, and our

16      understanding is that with those farmers in general, I

17      think our expectation would be that they're planning to

18      speak, you know, relatively short duration most of them,

19      five or 10 minutes.      It's not probably true of all the

20      class reps, but it's probably true of the rest of the

21      farmers.

22             But our thought was that if we broke it down that

23      way, that -- that all the farmers that had indicated an

24      intention to speak ought to be able to speak in that

25      day.   Our assumption, again up to the Court, was that --
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 1      I mean, there are a number of groups of lawyers here.

 2      There's the -- you know, the DFA/DMS subclass.             There's

 3      the non-DFA/DMS subclass.       There's the defendants.        That

 4      probably for the lawyers to do what we ought to do and

 5      to answer all the Court's questions, that that --

 6      probably two hours is reasonable for that.          But it

 7      obviously does not have to occur on Friday.          I think

 8      from our point of view it's more important to let the

 9      farmers who want to speak, speak.

10            And I think the only other issue that we had --

11      there are sort of two other issues that we had talked

12      about that I should flag.       One is, you know, there's

13      some concern -- because we know there're organized

14      efforts to get farmers there, and if we -- you know,

15      we're told there's, you know, like a bus load of farmers

16      that may come.     We wanted to be sure that the people

17      that have provided notice to speak actually are able to

18      get into the courtroom, because there is some

19      possibility of crowd -- of a crowd.

20            And the one other issue, which I will just flag and

21      then I will stop, is we have received questions from

22      individuals, and I know other attorneys have received

23      questions from individuals who are not class members

24      either because they were never class members or they

25      have opted out, but they are not class members, and they
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 1     haven't provided notice of an intention to speak, and

 2     basically the question was -- what was raised was should

 3     they show up, are they going to be able to speak anyway?

 4     And we just wanted to know if there's any guidance about

 5     what we ought to tell them on that.

 6           So that's kind of our list, your Honor, and thanks

 7     for your patience.

 8                 THE COURT:    Okay.    I don't think we should

 9     start early.     I think that we are going to need to get

10     people through security, and it's just not going to work

11     to move it up.     And I want to avoid any conspiracy

12     theory that the hearing is engineered to prevent people

13     from X, Y or Z.     I am just not going to go there.        So we

14     are going to start when we are going to start.

15           This is their fairness hearing, so I don't think I

16     need two hours from the attorneys.         Judges don't see

17     that as the focus of a fairness hearing.          This -- I have

18     heard from you, you know.       I will be very conversant

19     with your papers, and if there's time, that's one thing,

20     but this is for the purpose of class members to either

21     support or object to the settlement, and that's really

22     what I want to hear.

23           I am not really thinking that I would need another

24     day, and I think that would feed into the conspiracy

25     theory, to hear from the attorneys.         So if something is
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 1     so disturbing that you need to respond in writing

 2     thereafter, that's fine.       I don't plan on that

 3     happening, but, you know, if it happens, it happens.

 4           I was going to limit the speakers to who actually

 5     followed the rules.      Most of these people have already

 6     been through a fairness hearing, so they can't claim "I

 7     didn't know that, you know, this is how it went" and "I

 8     didn't understand what was going to happen."

 9           This is -- we have had a dress rehearsal, and I am

10     going to be less amenable to having people speak because

11     they do understand what the process is, and there's just

12     too many of them.

13           I was planning on limiting everybody, including

14     class representatives because they really shouldn't have

15     a different status than class members, to five minutes

16     and keeping fairly religiously to that number.              And so I

17     didn't expect -- I mean, they have got an opportunity

18     for written objections, and it's just not conceivable

19     that we would have long diatribes or explanations, but

20     we will see how that works.

21           And with that as the number, I thought we could

22     probably get it in on one day, and if we can't, people

23     are going to have to come back.        But five minutes is

24     actually a fair amount of time to say this is what I

25     like, this is what I don't like, and I will provide
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 1     guidance.     I'm good at redirecting people, as you know,

 2     when I think somebody is going off track and talking

 3     about things that the Court can't resolve.          I will try

 4     to direct it to the settlement.        So that's kind of what

 5     I was thinking.

 6           In terms of if we have a class representative and

 7     they are husband and wife or father and son, I would

 8     expect that each of them could speak.         I don't think

 9     people's children should be able to speak, so I don't

10     want class members to get bumped out by nonclass

11     members.    And so, for example, I think the Haars should

12     be able to speak.      I don't know that we need to hear

13     from their son.     You know, I don't know that we are

14     going to have enough time for that.

15           So I am going to be fairly mindful that the purpose

16     is to give class members an opportunity to speak, and

17     it's less about the lawyers and the class

18     representatives because you have already told me what

19     their positions are.

20                 MR. PIERSON:     That all seems fine to me,

21     your Honor.     I will let other counsel weigh in, but that

22     all seems quite workable to me.

23                 THE COURT:     Anybody think that's not going to

24     be workable or would be -- and you should be candid

25     because we are still in the forming stage -- unfair,
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 1     arbitrary, capricious, any of those things?

 2                 MR. ABRAMS:    Your Honor, this is Bob Abrams.

 3     And I -- I was happy to hear all your comments and

 4     proceed in the manner that you said.         And I think it's

 5     helpful to us in answering questions as well that we're

 6     getting.

 7                 THE COURT:    Okay.

 8                 MR. SMITH:    Your Honor, this is Danny Smith.

 9     If I could just ask two questions --

10                 THE COURT:    Sure.

11                 MR. SMITH:    -- along that line.

12           So if I understand, the basic point is, we get a

13     call, somebody says, "I didn't get my notice in in

14     time," the answer is that only folks who did get their

15     notices in in time will be authorized to speak?

16                 THE COURT:    Yes.

17                 MR. SMITH:    And second question, more mundane,

18     recommendation as to what time folks should show up with

19     that anticipated number of participants given the

20     security based on your experience?

21                 THE COURT:    So our court security starts

22     screening at eight, so it won't happen any earlier than

23     that, but that's probably -- if you are here at eight,

24     you will have a seat in the courtroom.

25                 MR. SMITH:    Okay, very helpful.      Thank you.
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 1                 MR. KUNEY:    Your Honor, this is Steve Kuney.

 2     I have one question, if I may?

 3                 THE COURT:    Sure.

 4                 MR. KUNEY:    I know it's been -- I know it's

 5     been an ordeal for the clerk's office to post all these

 6     filings.    Where we find ourselves right now is that, you

 7     know, pursuant to the notice, people who intended to

 8     speak at the hearing were supposed to provide counsel

 9     with, you know, a cc. of their letter.          We have a number

10     of letters that we received that were mailed late last

11     week that have not yet appeared on the court's docket.

12     I don't know whether there's anything that we can or

13     need or should do about that, but we believe they were

14     timely filed and don't know whether the clerk has not

15     completely caught up yet or whether there's something we

16     should do to ensure that they don't lose out.

17                 THE COURT:    So the whole thing is a

18     predicament in that we're getting lots and lots of

19     paper, and rather than making a judicial determination

20     as to is this a class member, is it timely, what should

21     I do about it, we have just been -- and some of them

22     aren't signed -- we have been docketing them as they --

23     as the clerk's office can come -- you know, through the

24     package, and they are going to show up on the docket.

25     That's just the easiest way to do it.         It's consistent
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 1     with my policy of openness.

 2             We have had a couple requests for in camera

 3     inspection.     I have explained that's not the way we are

 4     going to proceed.      So that's the best I can do with the

 5     paper coming in is it will show up on the docket.

 6                  MR. KUNEY:     Very well.    Thank you, your Honor.

 7                  THE COURT:     Anything else?

 8                  MR. PIERSON:     I don't think so, your Honor.

 9     Again, thank you for hearing us on short notice.

10                  THE COURT:     Okay.   No problem.   We'll see you

11     soon.

12                   (Court was in recess at 3:55 p.m.)

13                                  *** ** ***

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16

17                        C E R T I F I C A T I O N

18          I certify that the foregoing is a correct
       transcript from the record of proceedings in the
19     above-entitled matter.

20

21     June 5, 2016                 _______________________
       Date                         Anne Nichols Pierce
22

23

24

25
